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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA

CATHERINE ROBERTS                               )
     AND                                        )
KRISTEN CLEMENTS                                )
                                                )
                      Plaintiffs,               )   Civil No.: 14-3890
              v.                                )
                                                )
CAESAR’S ENTERTAINMENT, INC.                    )   JURY TRIAL DEMANDED
D/B/A HARRAH’S PHILADELPHIA, et al.             )
                                                )
                      Defendants.               )


                               CERTIFICATION OF SERVICE

       I hereby certify that on September 17, 2014, the foregoing, Response to Defendant Joan

Dragotta’s, Motion to Dismiss, is available for viewing and downloading from the ECF System

of the Eastern District of Pennsylvania and has been served upon the following counsel of record

electronically via the ECF System and by electronic mail to:

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